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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                   LAKE CHARLES DIVISION


 STATE OF LOUISIANA ET AL                                CASE NO. 2:21-CV-00778

 VERSUS                                                  JUDGE TERRY A. DOUGHTY

 JOSEPH R BIDEN JR ET AL                                 MAGISTRATE JUDGE KAY

                                                ORDER

           Considering the foregoing Motion for Status Conference [Doc. No. 161] filed by Plaintiff

 States,

           IT IS ORDERED that the Motion is GRANTED IN PART and DENIED IN PART. To

 the extent that Plaintiff States request a telephone status conference, the Motion is GRANTED. A

 telephone status conference is therefore set in this matter for Thursday, September 16, 2021, at

 1:30 p.m. C.S.T., for the purpose of addressing the proceedings in Friends of the Earth v. Haaland,

 No. 1:21-cv-0231 (D.D.C.).

           To the extent that Plaintiff States request that Friends of the Earth, Healthy Gulf, Sierra

 Club, and Center for Biological Diversity be ordered to participate in the telephone status

 conference, the Motion is DENIED. Call-in information will be provided by email to counsel.

           MONROE, LOUISIANA, this 14th day of September 2021.




                                                                    Terry A. Doughty
                                                               United States District Judge
